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CLERK, Us. DISTRICT COUAT
1 || D. WAYNE LEECH, Bar No. 97676
Moseley & Leech
2] 11001 E. Valley Mall, Ste. 200 JUN 13 2008
El Monte, California 91731-2620 _
3 Telephone: (626) 443-0061/ (2 1 3686-2068 CENTRA TA CALIFORNIA
Facsimile: (626) 443-1165 BY DEPUTY
4 . TT pry
ATTORNEYS FOR DEFENDANTS, UPPER SAN GABRIEL VALLEY MUNICIPAL WATER
5 DISTRICT, ANTHONY R. FELLOW, FRANK F. FORBES, KENNETH R. MANNING,
R. WILLIAM “BILL” ROBINSON & MARVIN JOE CICHY
6 Priority.
7 Send Le
oy UNITED STATES DISTRICT COURT CMe
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a =| 27 CENTRAL DISTRICT OF CALIFORNIA —js..2/j5-3
bef & Cs | 2 Scan Only
3 il
~ /
3 8 THE:UNITED STATES OF AMERICA, )} Case No. CV 00-07903-AHM (BORx)
=/ t y 4 )
3 : | Plaintiff, ) STIPULATION AND ORDER RE:
eke || - ) DISMISSAL
o> >
Sieve )
13" a )
UPPERISAN GABRIEL VALLEY )
14 || MUNICIPAL WATER DISTRICT; )
ANTHONY R. FELLOW (Division 1), )
15 |] FRANK F. FORBES (Division 2), )
KENNETH R. MANNING (Division 3),R. )
16 WILLIAM “BILL” ROBINSON (Division __)
4), MARVIN JOE CICHY (Division 5), )
17 || Members of the Board of Directors forthe )
Upper San Gabriel Valley Municipal Water )
18 || District; CONNY B. MCCORMACK, Los)
Angeles County Registrar-Recorder/County )
19 } Clerk, )
)
20 Defendants. }
)
21
22
3 ' COMES NOW, the parties to the present action by and through their respective counsel and
34 offer the present Stipulation and Order regarding the dismissal of the present action.
35 The parties, through their attomey’s of record, hereby stipulaty-to-and request the entry of an_
6 Order dismissing the present action, with prejudice. EN | ER ON IC Ms
27
38 STIPULATION OF THE PARTIES

 

 

For the following reasons, good cause exists for the granting of tht present request!

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STIPULATION AND ORDER RE: DISMISSAL C

 

 
 

 

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1. + The parties submit the present stipulation and related order pursuant to Rule 40(a) of
the Federal Rules of Civil Procedure dismissing all defendants in the present action, with prejudice,
2. Defendant Upper San Gabriel Municipal Water District has enacted a new districting

plan, under;which elections were held in 2002. The parties agree that the case is now moot. The

Court no longer needs to retain jurisdiction on this matter.
3. The parties stipulate to the dismissal of the present action, with prejudice.
4. The present request is made in good faith and not for purposes of delay. 5

Each party shall bear their own attorneys fees and costs.

 

DATED:'June ___, 2003
JOSEPH D. RICH

Chief

ROBERT A. KENGLE

Deputy Chief

DAVID J. BECKER

Trial Attomeys

Voting Section

Civil Rights Division

United States Department of Justice

P.O. Box 66128

Washington, D.C. 20035-6128

(202) 514-6346

MOSELEY & LEECH

DATED: June __, 2002

 

D. WAYNE LEECH

Attorneys for Defendants UPPER SAN
GABRIEL VALLEY MUNICIPAL WATER
DISTRICT, ANTHONY R. FELLOW,
FRANK F. FORBES, KENNETH R.
MANNING, R. WILLIAM “BILL”
ROBINSON & MARVIN JOE CICHY

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STIPULATION AND ORDER RE: DISMISSAL

 
 

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For the fallowing reasons, good cause exists forthe granting of the present request::

: 1, The parties submit the present stipulation and related order pursuant to Rule
40(a) of the Federal Rules of Civil Procedure dismissing all defendants in the present | _ :
action, with prejudice.

2. Defendant Upper San Gabriel Municipal Water District has enacted a new

districting plan, under which elections were held in 2002. The parties agree that the case
is ndw moo!. The Court no longer needs to retain jurisdiction on this matter.
3. The parties stipulate ta the dismissal of the present action, with prejudice.
4. The present request is made in good faith and not for purposes af delay.

5. Each party shail bear their own attorneys fees and costs.

DATED: June [2-, 2003

 

ROBERT ATKENGLE

Deputy Chief

DAVID J. BECKER

Trial Attorneys

Voting Section

Civil Rights Division

United States Department of Justice
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DATED: June \%, 2002 |
D- WAYNE LEE
Attorneys for Defendants UPPER SAN
GABRIEL VALLEY MUNICIPAL WATER
DISTRICT, ANTHONY R, FELLOW,
FRANK F. FORBES, KENNETH R.
MANNING, R, WILLIAM “BILL”
ROBINSON & MARVIN JOE CICHY

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STIPULATION AND OROER RE; DISMISSAL
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Case fr ov-07908- ANN gle Document 52° Filed one 4 of 6 Page ID #:52

ORDER

 

3 The Parties having stipulated thereto as indicated above, and good cause existing therefore:
4 IT IS SO ORDERED that the case is dismissed, with prejudice, with each party to bear their

own attorneys fees and costs.

. JUN 13 2008
DATED: _

 

United States District Judge

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STIPULATION AND ORDER RE: DISMISSAL

 

 

 
 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

L, Elizabeth Esparza, am employed in the aforesaid County, State of California; | :
am over the age of 18 years and not a party to the within action; my business address is
11001 Valley Mall, Suite 200, El Monte, CA 91731.

On June 13, 2003, | served upon the interested party(ies) in this action the
following described document(s): STIPULATION AND ORDER RE: DISMISSAL

[X/ MAIL: By placing a true copy thereof enclosed in a sealed envelope(s),
addressed asset forth below. | am "readily familiar’ with the firm's practice of
collection and processing correspondence for mailing. Under that practice it would
be deposited with U.S. Postal Service on that same day with postage thereon fully
prepaid at El Monte, California in the ordinary course of business. | am aware that
on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter date is more than one day after date of deposit for mailing

in' affidavit.

LI PERSONAL DELIVERY: By delivering a true copy thereof by hand to the
person or office, as indicated, at the address(es) set forth below.

LXX FAX: By transmitting a true copy thereof by telecopier to the person or
office, as indicated, at the address(es) and telecopier number set forth
below.

Lf MESSENGER: By causing a true copy thereof to be delivered via

messenger service at the address(es) set forth below.
|See attached service list

IXX. /; STATE | declare under penalty of perjury under the laws of the State of
_ California that the above is true and correct.

/_{ | FEDERAL | declare that | am employed in the office of a member of the bar of this
- Court at whose direction the service was made.

' Executed on this 13" day of June, 2003, El Monte, California.

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Eliz Esparza

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| STIPULATION AND ORDER RE: DISMISSAL

 
 

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SERVICE LIST

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STIPULATION AND ORDER RE: DISMISSAL

 

 
